

People v Pettiford (2023 NY Slip Op 02625)





People v Pettiford


2023 NY Slip Op 02625


Decided on May 16, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 16, 2023

Before: Kern, J.P., Friedman, Gesmer, Moulton, Rodriguez, JJ. 


SCI No. 1619/19 Appeal No. 249 Case No. 2020-00554 

[*1]The People of the State of New York, Respondent, 
vErrol Pettiford, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Elizabeth Batkin of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Elliott Robert Hamilton of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Linda Poust Lopez, J.), rendered October 21, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 16, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








